 1   Dina L. Anderson
     Chapter 7 Trustee
 2   21001 N. Tatum Blvd.
     #1630-608
 3
     Phoenix, AZ 85050
 4   Email: General@DLATrustee.com
     Telephone: (480) 304-8312
 5

 6                          IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF ARIZONA
 7
      In Re:                                          )   Case No. 19-06157-DPC
 8                                                    )
      PORSCHE A RODGERS,                              )   Chapter 7
 9                                                    )
10                                    Debtor(s).      )   BAR DATE NOTICE OF TRUSTEE’S
                                                      )   OBJECTION TO PROPERTY CLAIMED
11                                                    )   EXEMPT
                                                      )
12
               NOTICE IS HEREBY GIVEN that Dina L. Anderson, Chapter 7 Trustee herein
13
     (“Trustee”), has filed an Objection to Property Claimed Exempt (“Objection”) in connection
14
     with the exemption claimed by Debtor in garnished funds.
15

16             Any person opposing the Trustee’s Objection must file a written Response with the U.S.

17   Bankruptcy Court, 230 N. First Ave., Suite 101, Phoenix, AZ 85003, within 21 days of service

18   of this Notice and a copy of said Response shall be served upon Dina L. Anderson, Chapter 7

19   Trustee, at the address above.
20             If a Response to the Objection is timely filed and served, the Trustee will request a
21
     hearing from the Court. If no Response is filed and served, an Order sustaining the Objection
22
     may be entered by the Court without a hearing.
23

24
     Dated: August 7, 2019                                 /s/ Dina L. Anderson
25                                                         Chapter 7 Trustee


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 1   Copies mailed to the following parties on
     August 7, 2019:
 2
     DEBTOR:
 3
     Porsche A Rodgers
 4   4939 W Ray Road, Unit 233
     Chandler, AZ 85226
 5
     And copies emailed to the following parties on
 6   August 7, 2019:

 7   DEBTOR’S ATTORNEY:
     Thomas Adams McAvity
 8   Phoenix Fresh Start Bankruptcy Attorneys
     tom@nwrelief.com
 9

10   OFFICE OF THE UNITED STATES TRUSTEE:
     Jennifer A. Giaimo
11   Jennifer.A.Giaimo@usdoj.gov

12
     /s/ Lisa Bailey
13   Lisa Bailey

14

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